Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 1 of 81

              SUPPLEMENTAL DECLARATION OF NATHANIEL AL-NAJJAR
                         PURSUANT TO 28 U.S.C. § 1746
  I, Nathaniel Al-Najjar, hereby declare as follows:

         1.      My name is Nathaniel Al-Najjar. I am a United States citizen and over eighteen
  years of age. I am employed as a paralegal with the Federal Trade Commission (“FTC” or
  “Commission”), a position that I have held for approximately 2 years. My office address is 230
  South Dearborn Street, Room 3030, Chicago, IL 60604. I have personal knowledge of the facts
  stated in this declaration, and if called as a witness, I would testify to the same.
         2.      As part of my duties, I research, monitor, and investigate parties who are
  suspected of engaging in deceptive or unfair acts or practices in violation of Section 5(a) of the
  Federal Trade Commission Act, and other laws or rules enforced by the FTC, including the
  Telemarketing Act, and the Telemarketing Sales Rule. I also gather information and review
  documents, financial records, and other evidence in connection with FTC investigations and
  federal court litigation. In the course of my employment, I have participated in the investigation
  of, and litigation against, Simple Health Plans LLC, Health Benefits One LLC, Health Center
  Management LLC, Innovative Customer Care LLC, Simple Insurance Leads LLC, Senior
  Benefits One LLC, and Steven J. Dorfman (collectively, “Defendants”). I previously submitted
  a declaration in this matter, which I executed on October 17, 2018. I have acquired personal
  knowledge and information about the facts stated herein, and, if called, would testify to the same.
         3.      Some information that constitutes or would reveal personally identifiable
  information or sensitive health information has been redacted from several attachments to this
  declaration.


                            DEPARTMENT OF INSURANCE COMPLAINTS

         4.      Pursuant to provisions of the Temporary Restraining Order entered by the Court

  on October 31, 2018, FTC staff inspected and copied paper and electronically stored business

  records maintained by Defendants at their business locations and at an offsite data center.

  Included in the electronically stored information on Defendants’ servers were hundreds of




                                                                                                 Exhibit D
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 2 of 81

   complaints sent by consumers to various state Departments of Insurance (or state government

   entities with equivalent jurisdiction over the insurance industry), which were then forwarded to

   Defendants. The complaints were grouped in folders containing the initial complaint and

   attachments to the complaint, relevant correspondence from the state regulatory entity, and

   Defendants’ written response on Simple Health or Health Benefits Center letterhead. Many

   complaint folders included a subject title in their names, such as “(ACA),” “(Misrep.),” and

   “(70%),” among others. I have attached a sample of 21 complaints. True and correct copies of

   these complaints are attached hereto as Al-Najjar Attachment A.



                                   ONGOING CONSUMER CHARGES

          5.      FTC staff requested information from the Receiver about consumers currently

   being charged by Defendants’ third party administrator, Health Insurance Innovations, for

   products previously purchased from Defendants. On or around January 31, 2019, FTC staff

   received an email from the Receiver forwarding an email from HII’s counsel with a Microsoft

   Excel spreadsheet titled “Simple Health – December Collections and Allocations” attached.

   According to the spreadsheet, 62,108 unique charges occurred during the month of December

   2018, resulting in approximately $5.5 million in revenue. One column of this spreadsheet is

   titled “Sales commissions due to Simple Health.” The amount listed at the bottom of this

   column is $73,314.77.

          6.      On or around March 14, 2019, the Receiver sent FTC staff a Microsoft Excel

   spreadsheet titled “Simple Health – January Collections and Allocations.” According to this

   spreadsheet, 54,851 unique charges occurred during the month of January 2019, resulting in

   approximately $4.8 million in revenue. One column of this spreadsheet is titled “Sales




                                                                                                 Exhibit D
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 3 of 81




                                                                          Exhibit D
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 4 of 81




 Al-Najjar Attachment A




                                                                          Exhibit D
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 5 of 81




                                                                 Exhibit D, Attachment A
                                                                            Page 1 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 6 of 81




                                                                 Exhibit D, Attachment A
                                                                            Page 2 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 7 of 81




                                                                 Exhibit D, Attachment A
                                                                            Page 3 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 8 of 81




                                                                 Exhibit D, Attachment A
                                                                            Page 4 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 9 of 81




                                                                 Exhibit D, Attachment A
                                                                            Page 5 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 10 of 81




    Health Benefits One
    Response

    September 14, 2017

    State of Colorado
    Division of Insurance

                                     COMPLAINT RESPONSE


    Re: B       B




    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Colorado Division of Insurance, regarding a membership with MSGA; a Principal
    Advantage limited Medical Indemnity plan underwritten by Companion Life Insurance
    Company on behalf of B           B      (who will be referred to as the member throughout
    this response).


    September 05, 2015, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for a voice verification with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                             Exhibit D, Attachment A
                                                                                        Page 6 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 11 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member’s husband stated his wife Barbara Bates
    was admitted into the hospital and nothing was covered. During the sales and
    enrollment process the member was advised this policy was a limited medical indemnity
    policy that provided a cash benefit. As part of the MSGA association, the member could
    receive in-network re-pricing for any applicable procedures within the network.The pre-
    existing waiting period was explained during the sale and verification process.
    Please be advised Health Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Alexis Danielle Akins is no longer with Health Benefits One, LLC.
    Please accept this on my behalf as the Chief Compliance Officer.



    Sincerely,



    C.Girouard




                                                                               Exhibit D, Attachment A
                                                                                          Page 7 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 12 of 81




                                                                 Exhibit D, Attachment A
                                                                            Page 8 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 13 of 81




                                                                  Exhibit D, Attachment A
                                                                             Page 9 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 14 of 81




    Member was advised of the overview of the Benefits, Association and, American Financial
    Limitations & Exclusions and Security & Privacy which are available immediately for their
    viewing by going www.hiiquote.com. HBO further advised the member to review the policy
    and certificate for a list of any exclusions, limitations and acknowledgements specific to
    their state. The member was explained several times the membership was not a major
    medical, but rather a limited medical benefit plan.
    Per the member’s complaint form, the member stated he needed to purchase a health
    insurance policy covered under ACA. During the enrollment process it was discussed
    with the member this policy was a limited medical benefit plan which did not meet the
    Affordable Healthcare Act guidelines.
    The member further stated he was diagnosed with Kidney disease and needed to have
    Dialysis treatments, but the policy did not cover it. The member was advised this policy
    was a limited medical indemnity policy which provided a cash benefit which he could
    receive in-network repricing for any doctor within the network. The member also
    acknowledged and agreed to the terms and conditions of the policy during the
    enrollment process.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Javier Perez has taken 30 days of leave due to family matters.
    Please accept this on behalf of myself as the Chief Compliance Officer.



    Sincerely,



    C.Girouard




                                                                             Exhibit D, Attachment A
                                                                                       Page 10 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 15 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 11 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 16 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 12 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 17 of 81




    Health Benefits One
    Response

    July 11, 2017

    State of Wyoming
    Department of Insurance



                                      COMPLAINT RESPONSE


    Re: S     C
    WID File Number: 17-9547LD



    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Wyoming Department of Insurance regarding a membership with ACUSA: a Legion
    Limited Indemnity plan underwritten by AXIS Insurance Company for S            C
    (who will be referred to as the member throughout this response).

    March 08, 2017, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for an Echosign Packet with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                              Exhibit D, Attachment A
                                                                                        Page 13 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 18 of 81




    Member was advised of the overview of the Benefits, Association and First Health
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the members complaint form, the member stated his wife and daughter went to the
    emergency room and were told the policy did not cover the procedures and he also
    received unpaid bills for the visits. Please be advised that during the enrollment process
    the member was informed the policy he was enrolling into was a limited benefits
    medical policy. The member also acknowledged and agreed to the terms and conditions
    of the policy during the enrollment and verification process.
    Please be advised that Health Benefits One, LLC does not handle claims.
    Please be advised Christopher Pierre Louis is no longer with Health Benefits One, LLC.
    Please accept this on my behalf as the Chief Compliance Officer.


    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.


    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 14 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 19 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 15 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 20 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 16 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 21 of 81




    Health Benefits One
    Response

    July 07, 2017


                                      COMPLAINT RESPONSE


    Re: M        F




    To Whom It May Concern:
    Please allow this letter to serve as a formal response to the complainant’s concerns,
    regarding a membership with MSGA; a Principal Advantage limited Medical Indemnity
    plan underwritten by Companion Life Insurance Company for M           F     on behalf of
    M        F    (who will be referred to as the member throughout this response).


    August 19, 2016, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for an EchoSign Packet with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                              Exhibit D, Attachment A
                                                                                        Page 17 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 22 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member’s grandmother stated she was told the
    policy would cover the member’s diabetes, but has been receiving past due notices for
    unpaid claims for hospitalization. During the sales and enrollment process the member
    was advised that this policy was a limited medical indemnity policy that provided a cash
    benefit. As part of the MSGA association, the member could receive in-network re-
    pricing for any applicable procedures within the network.The pre-existing waiting period
    was explained during the sale and verification process.
    Please be advised Health Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Adam Bercowicz is no longer with Health Benefits One, LLC. Please
    accept this on my behalf as the Chief Compliance Officer.



    Sincerely,



    C.Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 18 of 77
07-07-2017
                               Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 23 of 81
                                                       Problem Report Information Inquiry                                                                                                         Page 1 of 3

       Problem Report ID: 42517                                         Problem Report Type: Complaint                                             Responsible Section: Consumer Services
            Status: Open                                   Opened Date: 07-06-2017                                Closed Date:                                   Closure Reason:
 PROBLEM REPORT DETAILS
 TYPE OF PROBLEM              OTHER PROBLEM TYPE DESCRIPTION
 Provider Issues
 DESCRIPTION


 CONSUMER DETAIL OF COMPLAINT
 I've contacted over 25 different OB/GYN doctors in Las Vegas and went to Southern Hills Hospital for treatment and was told this is not health insurance! I am pregnant and need to get care for my baby and
 I have had to pay over $1500 out of pocket and that amount is still rising because I am currently uninsured. I had to cancel the policy due to the fact that not one doctors office nor hospital accepted this
 "Unified Health One" as valid health insurance. The supposed insurance is underwritten by: Unified Life Insurance Company. I believe I was sold health insurance under false pretenses or sales
 misrepresentation. I am currently trying to buy health insurance and I need to prove loss of insurance but Unified Health One (also called Health Insurance Innovations) will only send me a written statement
 claiming I cancelled the policy at my own will. Which I wouldn't have had to cancel if they provided legitimate health insurance!
 Also, I want to know why the Nevada Division of Insurance doesn't recognize Unified Health One at all, but it does recognize Unified Life insurance company as a health and life insurance company. It is very
 confusing. Also Health Insurance Innovations is not a health care provider but a third party administration health plan intermediary LLC. This is all so confusing and concerning. I have also done further
 research and other consumers have declared this to be a fraudulent company that prays upon people like myself. This company contacted me. They sold me insurance that does not work. Like they have
 done to so many others. They also refunded my money well passed the 30 days that allows them when I confronted them with the fact that they are bogus health insurance. If they are truly valid why would
 they do that?
 I just want to know what they are and if they are valid. Also, when I asked for them to send me a list of providers, they kept resending me my member cards. When I tried to search their portal to find doctors
 it was impossible.
 CONSUMER DESIRED RESOLUTION
 A fair resolution would be that they are responsible for every single penny I have had to come out of pocket and a vast portion of my hospital bills! If they were true health coverage, my hospital bills would
 have come to maybe $900, and my doctors visits I would have only had to pay the $75 copay for the specialists being that I am a high risk patient. This company (Unified Life Insurance Company, Unified
 Health One, or Health Insurance Innovations) has caused me a significant amount of emotional stress and a significant amount of debt that it at times consumes me.
 I also think that they should be fined by the state in some way for preying upon people in such a way. I have Never dealt with such a shady insurance company such as this.
 CONSUMER IS COMPLAINING AGAINST                                                                            CONSUMER IS REPRESENTED BY AN ATTORNEY?               HOW DID THE CONSUMER KNOW ABOUT US?
 My Insurance Company                                                                                       No                                                    Consumer Portal
 HAS THE CONSUMER PREVIOUSLY REPORTED THIS PROBLEM TO OUR OFFICE OR ANY OTHER AGENCY?                                            PURCHASED INSURANCE ON THE HEALTH CARE EXCHANGE?
 Yes                                                                                                                             Yes
 RESPONDENT INFORMATION
 NAME                                                                                   ADDRESS                                                                                EIN/NPN
 UNIFIED LIFE INSURANCE COMPANY                                                         PO BOX 25326                                                                           XX-XXXXXXX
                                                                                        OVERLAND PARKKS 66225-5326
 EMPLOYMENT TYPE                            NAIC ID                                     REPRESENTATIVE                             COMPLAINT CONFIRMED
                                            11121
 SOURCE                       COMPLAINT TYPE               INCIDENT DATE                RECEIVED DATE                PRIORITY                     LOCATION                     LOCATION DATE
 Consumer                     General                      05-24-2016                                                                             Las Vegas
 FINDING TYPE                 INCIDENT GROUP               SUBJECT                                    SUBJECT ADDITIONAL DETAILS                  STATE ID                     SYSTEM SOURCE
                                                                                                                                                  SH
 INSURER                      AGENT/AGENCY                 TYPE OF INSURANCE            SELF-FUNDED HEALTH PLAN             COVERAGE TYPE                COVERAGE LEVEL               COVERAGE SUBLEVELS
 Unified life insurance       Health insurance             Accident and Health          No                                  Accident and Health          Individual                   Health Only
 company                      innovations
 NAME OF INSURED              POLICY NUMBER                POLICY PERIOD BEGIN DATE          POLICY PERIOD END DATE              POLICY ISSUED STATE          INSURANCE CARD ID           CLAIM NUMBER
 F           V                                                                                                                   Nevada                       200442680

 TYPE OF POLICY               LOCATION OF LOSS             IS THE INSURED MEDICARE             MEDICARE SUPP. PLAN          OTHER PARTY'S POLICY OR CLAIM NUMBER
                                                           No




                                                                                                                                                                                 Exhibit D, Attachment A
                                                                                                                                                                                           Page 19 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 24 of 81




    Health Benefits One
    Response

    July 13, 2017

    State of Nevada
    Division of Insurance


                                     COMPLAINT RESPONSE


    Re: V       F
    Problem Report ID: 42517


    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Nevada Division of Insurance regarding a membership with NCE; a Unified Health One
    Limited Medical Indemnity plan underwritten by Unified Life Insurance Company for
    V       F           (who will be referred to as the member throughout this response).



    March 29, 2017, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for an EchoSign Packet with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                            Exhibit D, Attachment A
                                                                                      Page 20 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 25 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member stated she has not been able to receive
    any benefits for her maternity visits. Please be advised the member was told this policy
    does not have maternity benefits. It must further be stated the member never stated she
    was looking for maternity coverage.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Sheri Hammerman is not available at this time. Please accept this on
    behalf of myself as the Chief Compliance Officer.


    Sincerely,



    C.Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 21 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 26 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 22 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 27 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 23 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 28 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member stated he had his appendix removed and
    his claims were not paid. During the enrollment process, the member was advised that
    the policy he was enrolling into was a limited medical indemnity policy that provided a
    cash benefit. The member was also informed that if the hospital was within the Multiplan
    Network he could receive an in-network contracted rate for any approved procedures.
    The member also acknowledged and agreed to the terms and conditions of the policy,
    including but not limited to, Waiting period, Coverage, and Pre-Existing conditions
    provision.
    Please be advised Heath Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Edward Jacobs is no longer with Health Benefits One, LLC. Please
    accept this on behalf of myself as the Chief Compliance Officer.



    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 24 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 29 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 25 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 30 of 81




    Health Benefits One
    Response

    June 13, 2017

    State of Wisconsin
    Office of the Commissioner of Insurance



                                       COMPLAINT RESPONSE


    Re: E      F
    File Number:336193


    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Wisconsin Office of the Commissioner of Insurance regarding a membership with
    MSGA: a Principle Advantage Limited Medical Indemnity plan underwritten by
    Companion Life Insurance Company for Er           F     (who will be referred to as the
    member throughout this response).

    August 5, 2014, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for a voice verification with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                                Exhibit D, Attachment A
                                                                                          Page 26 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 31 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member stated he was advised he would pay
    nothing for doctor visits after paying a few months of premiums, the member further
    states he was led to believe this was an Obamacare plan. During the sales and
    enrollment process the member was advised that this policy was a limited medical
    indemnity policy that provided a cash benefit. As part of the MSGA association, the
    member could receive in-network re-pricing for any applicable procedures within the
    network. The member was fully ware this plan did not qualify as an Obamacare plan
    because it was not a major medical.
    Please be advised the member went through a separate verification for the accidental
    death and dismemberment policy which states the following:


    “You do understand that all the benefits, underwriting and billing for your accidental death benefit with
    Fidelity Life Association are completely separate from and have no association with any other products,
    services, packages or bundles, you may have discussed or may be purchasing today. All cancellations
    must be done so separately from any other product. Furthermore, you are NOT required to purchase the
    accidental death benefit policy as part of any other product, service package or bundle. If you
    understand this and wish to continue, please verify by saying yes.”


    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Alane Kravatz is no longer with Health Benefits One, LLC. Please
    accept this on behalf of myself as the Chief Compliance Officer.



    Sincerely,



    C. Girouard




                                                                                           Exhibit D, Attachment A
                                                                                                     Page 27 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 32 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 28 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 33 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 29 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 34 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 30 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 35 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 31 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 36 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 32 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 37 of 81




    Health Benefits One
    Response

    October 04, 2017



                                     COMPLAINT RESPONSE


    Re: D     H




    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from Unified Health
    One regarding a membership with National Congress of Employers Association; a
    Unified Health One Limited Benefit Medical Plan underwritten by Unified Insurance
    Company for D        H            (who will be referred to as the member throughout this
    response).

    July 16, 2017, member did a needs and cost analysis to find a suitable product. During
    the pre-qualifying stage, the member was asked to state any pre-existing conditions.
    Once paired with a product, the member was then transferred to the verification
    department for an EchoSign packet with the details of the product and/or products they
    chose to purchase. This is done for the protection of the member to ensure their
    understanding of purchase.




                                                                             Exhibit D, Attachment A
                                                                                       Page 33 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 38 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Please be advised Health Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Leigh Luisgnan is no longer with All Web Leads. Please accept this
    on behalf of myself as the Chief Compliance Officer




    Sincerely,




    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 34 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 39 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 35 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 40 of 81




    Health Benefits One
    Response

    December 28, 2017

    State of California
    Department of Insurance



                                      COMPLAINT RESPONSE


    Re: A        K
    Case Number: 8125495




    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    California Department of Insurance regarding a membership with ACUSA: a Legion
    Limited Indemnity plan underwritten by AXIS Insurance Company for A
    K        (who will be referred to as the member throughout this response).

    February 02, 2017, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for an EchoSign packet with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                              Exhibit D, Attachment A
                                                                                        Page 36 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 41 of 81




    Member was advised of the overview of the Benefits, Association and First Health
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member stated she needed to purchase a health
    insurance policy covered under ACA. It must be stated, during the enrollment process it
    was discussed with the member this did not meet the Affordable Healthcare Act
    guidelines, but rather a limited medical benefit plan which provided a cash benefit. As
    part of the ACUSA association, the member was advised she could receive in-network
    re-pricing for any applicable procedure within the network. The member also
    acknowledged and agreed to the terms and conditions of the policy during the
    enrollment process.
    The member further stated she spoke with Charles but a customer service agent
    advised her she spoke with Clifford, then refused to give her his license number. Please
    be advised the members Agent of Record was Charles Rosenfeld, the customer service
    agent mistakenly said Clifford was the agent whom the member spoke with. Customer
    service agents does not have access to providing license numbers for the agents.
    Please be advised Health Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Charles Rosenfeld is currently out of the office sick with the Flu.
    Please accept this on behalf of myself as the Chief Compliance Officer.


    Sincerely,



    C.Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 37 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 42 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 38 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 43 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 39 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 44 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 40 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 45 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 41 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 46 of 81




    Health Benefits One
    Response

    August 30, 2016

    State of Wisconsin
    Department of Financial Services
    ATTN: Lisa Brandt
    Insurance Investigator
    Consumer Affairs Division


                                     COMPLAINT RESPONSE


    Re: A      L
    Tracking Number: 324629


    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Wisconsin Office of the Commissioner of Insurance regarding a membership with
    MSGA; a 1st Med Short Term Major Medical plan underwritten by Companion Life
    Insurance Company for A           L (who will be referred to as the member throughout
    this response).

    March 24, 2016, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for an EchoSign Packet with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                            Exhibit D, Attachment A
                                                                                      Page 42 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 47 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going to www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    During the Echosign Verification Process the member must sign and agree to the terms
    of the policy, which includes that well baby care visits are not covered.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.


    Please be advised Gina Roccasalvo is no longer with Health Benefits One, LLC. Please
    accept this on my behalf as the chief compliance officer.


    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 43 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 48 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 44 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 49 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 45 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 50 of 81




    Health Benefits One
    Response

    October 20, 2017

    O’Koon Hintermeister Attorneys at Law




                                      COMPLAINT RESPONSE


    Re: R     M
    File Number: 170261



    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from O’Koon
    Hintermeister Attorneys at Law regarding a membership with ACUSA: a Legion Limited
    Medical Indemnity plan underwritten by AXIS Insurance Company for R           M
    (who will be referred to as the member throughout this response).

    January 16, 2017, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for a voice verification with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                               Exhibit D, Attachment A
                                                                                         Page 46 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 51 of 81




    Member was advised of the overview of the Benefits, Association and First Health
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going to www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member stated he was misled about the
    emergency room coverage. The member was advised this policy was a limited medical
    indemnity policy, which provided a cash benefit. As part of the ACUSA association, the
    member was advised he could receive in-network re-pricing for any applicable
    procedure within the network.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Edgardo Castro is no longer with Health Benefits One, LLC. Please
    accept this on behalf of myself as the Chief Compliance Officer.



    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 47 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 52 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 48 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 53 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 49 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 54 of 81




    Health Benefits One
    Response

    March 5, 2018

    Commonwealth of Kentucky
    Public Protection Cabinet
    Department of Insurance




                                      COMPLAINT RESPONSE


    Re: M       M
    File #: 2018BMB125




    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the
    Commonwealth of Kentucky Department of Insurance regarding a membership with
    National Congress of Employers Association; a Health Choice + Limited Medical
    Indemnity plan underwritten by American Financial Security Life Insurance Company for
    M       M (who will be referred to as the “member” throughout this response).

    On November 22, 2017, member contacted Simple Health where she spoke with a
    licensed insurance agent and participated in a ‘needs and cost’ analysis to find the best,
    most suitable product. During the pre-qualifying stage, the member was asked to state
    any pre-existing conditions. Once paired with a product, the member was then transferred
    to the verification department for an Echosign Packet with the details of the product and/or




                                                                               Exhibit D, Attachment A
                                                                                         Page 50 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 55 of 81




    products they chose to purchase. This is done for the protection of the member to ensure
    their understanding of purchase.
    Member was advised of the overview of the Benefits, Association and Multiplan Network,
    Limitations & Exclusions and Security & Privacy which are available immediately for their
    viewing by going www.hiiquote.com. HBO further advised the member to review the policy
    and certificate for a list of any exclusions, limitations and acknowledgements specific to
    their state.
    Per the member’s complaint regarding her prescription coverage, member claimed she
    was unware she needed to contact customer service to obtain coupons to receive the
    best pricing for her prescription coverage. However, when the member enrolled in the
    above mentioned medical plan, she was advised that her plan came with a Scriptpal
    discount card. The member was further advised of a few programs utilized by Simple
    Health to further assist members in lowering the cost of prescriptions, specifically
    “Prescription Hope”, “Goodrx”, and “Pharmacy Checker”. Additionally, per the member’s
    request, she was enrolled in a policy program that (i) could be used anywhere in the U.S.,
    (ii) had no limits on usage, and (iii) required no referrals. The plan she enrolled in may
    have allowed her access to the contracted rate coverage available with participating
    providers, and the cash indemnity benefit for those services as identified in her benefits
    package. The member stated she went to see a dermatologist but didn’t mention whether
    or not the provider she sought treatment from was in-network. If the provider was in-
    network, the member may have been eligible for the contracted re-pricing and the cash
    indemnity benefit of $50 for the visit.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised, Aflred Deblasio, is out of the office today with laryngitis. Please accept
    this on behalf of myself as the Chief Compliance Officer.




    Sincerely,




    C. Girouard




                                                                                Exhibit D, Attachment A
                                                                                          Page 51 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 56 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 52 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 57 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 53 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 58 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 54 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 59 of 81




       COMPLAINT REGARDING FRADULENT HEALTH CARE & FALSE
       AND MISLEADING INFORMATION
       Requesting Cancellation of Service and Refund from Health Insurance Innovations (HII)
       Requesting Review of HII and associated companies by Illinois Department of Insurance
       and Illinois Attorney General


       September 1, 2017

       To Whom It May Concern,

       Plan/ Broker: Health Insurance Innovation (HII)
       Network/ Underwriter: First Health
       Carrier: Axis


              On July 7th, 2017 I went to the website https://www.healthcare.com/ and called
       the number on their site 877-626-1943 and spoke with Jeff Ross.

       Jeff Ross found a “health insurance plan” for me and verbally told me the following over
       the phone the following information. Here is what I wrote down that day from our
       conversation…

       The plan was supposed to:

       -Be a PPO with a zero deductible

       - A doctor visit would be 70% off then $50 off (I would have to wait 30 days to get
       70% off, but could go to the doctor next day after signing up and receive $50
       off)

       - There would be no difference between a specialist and primary doctor

       - It included a dental plan that would cover 50% of major work and would fully
       cover 3 cleanings and a set of x-rays (this would be effective next day after signing
       up)

       - Vision- would be no cost of eye exam and 50% off of contacts

       - Any hospital visits would be covered by 70% then reimbursed 50% of balance

       - He asked me what prescriptions I was taking and I told him. He then said the
       insurance would cover my prescriptions

       - I would be issued an insurance card through the mail and have instant access to
       the card online


                                                                                  Exhibit D, Attachment A
                                                                                            Page 55 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 60 of 81




       - I could cancel the plan at any time

       - The plan would mean I was exempt from the tax penalty

       - I would be mailed a packet of information regarding my plan.


       The monthly amount for the Health Insurance Innovation (HII) plan would be
       $253.57 and to sign up there was a $155.00 enrollment fee. I was then charged a
       total of $408.57 on my VISA-PNC credit card on 07/08/17 confirmation #981181.

       I made this payment over the phone with Jeff Ross.




       (Jeff Ross said he was available for any questions or concerns in the future at ph# 800-
       594-4046 ex. 1603.)

       After the payment he told me that I would be transferred for a verification process. He
       told me just to agree to the questions otherwise I would not receive the insurance.

       I was not allowed to ask any questions during the verification process.




       On July 10th, 2017 I picked up my prescriptions using my “insurance card” at Walgreens
       where I discovered that the plan I had purchased was not insurance to cover my
       medications, but a medical discount card.
       I was lead to believe that I was purchasing an insurance plan that would cover my
       medications. This was a lie.
       (See photograph of “insurance card” and Medical discount card.)




                                                                                    Exhibit D, Attachment A
                                                                                              Page 56 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 61 of 81



       At some point I logged onto my account at www.hiiquote.com to change my form of
       payment from my PNC-VISA to TCF Bank Checking.

       This is when I discovered that I was billed for “benefits” I was not aware I purchased:

       PEP Benefit- approximately $155 for access to a website regarding health
       RX Helpline- approximately $30+ for access to a phone number for prescription
       discounts
       Teladoc Benefit- approximately $30+ for access to a phone number to talk with a doctor

       On July 2I, 2017 I called Health Insurance Innovations to remove the PEP benefit. They
       said I would be refunded the money in the amount of $155.00.

       On July 23, 2017 I called Health Insurance Innovations to remove the RX Helpline and
       Teladoc Benefit. Whomever I talked to said I would then be refunded a total amount of
       $233.13.
       The refund would be $155 for getting rid of the PEP Benefit.
       And the remaining $78.13 would be for getting rid of the RX Helpline AND the Teladoc
       Benefit.

       This would mean my plan would be $38.14.
       If I had known that this plan was only $38.14 it would have been obvious to me that this
       was a scam. Not revealing the actual amount of the plan was false and misleading
       information. The person that sold me the plan did not disclose PEP Benefit, RX Helpline
       or Teladoc Benefit or the cost AT ALL.

       I did receive a refund in the mail, not for the $233.13 as I was promised but for $155.00.
       The check was from Health Plan Intermediaries Holdings LLC, HII Premium Trust ch#
       7380 in the amount of $155.00.

       PLEASE BE ADVISED I WILL NOT BE CASHING THIS CHECK TO AVOID
       FURTHER DEALING WITH HII. To prove that I will not cash the check here is of a
       photograph of it ripped in half with VOID written on it.




                                                                                    Exhibit D, Attachment A
                                                                                              Page 57 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 62 of 81




       On August 23, 2017 I called HII 877-376-5831 to inquire why I was sold an “insurance
       plan” under false pretenses.

       They told me they were the billing department and that I should talk with the company
       that sold me the plan. I also asked them why I was charged 3x on August 9th.

       Twice on my PNC-VISA:

       08/09/2017
       HEALTH INSURANCE INNOVATI877-3765831 FL
       $130.45

       08/09/2017
       HEALTH INSURANCE INNOVATI877-3765831 FL
       $30.00

       08/09/2017

       And once on my TCF CHECKING account:
       08/09/2017 in amount of $38.14


       When I the HII phone number I spoke with Bane on August 23, 2017 at 8:30AM he told
       me:

       $38.14 was for my medical plan
       AND,
       $130 for accidental death and dismemberment
       $30 was for something else

       I did not agree add on the $130 or the $30.

       I was unaware of the charges and what I was being charged for. I did not give
       consent for these additional charges. There was no notification of the additional
       charges as well.




                                                                                 Exhibit D, Attachment A
                                                                                           Page 58 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 63 of 81




       Disputed Charges and Refunds as of 09/01/17:

       TCF BANK-
       On August 23, 2017 I called my bank to dispute the withdrawal of $38.14 on August 9th,
       2017.
       I was refunded $38.14 money on 08/28/17
       I called on August 30, 2017 and was informed that HII refunded the money. This has
       been resolved.


       PNC BANK
       On August 23rd I called PNC- VISA and spoke with Evan from the dispute department to
       dispute the following charges:

       08/09/2017
       HEALTH INSURANCE INNOVATI877-3765831 FL $130.45
       CASE# 1201723500188

       08/09/2017
       HEALTH INSURANCE INNOVATI877-3765831 FL $30.00
       CASE# 1201723500187

       and the initial charge of

       7/08/2017
       HEALTH INSURANCE INNOVATI877-3765831 FL $408.57
       CASE# 1201723500186

       I was refunded this on my PNC VISA
       08/23/2017
       *FINANCE CHG* DISPUTE ADJ
       -$28.63
       I called on August 30, 2017 and was informed that PNC refunded money for interest on
       disputed charges.

       HII REFUND CLAIMS:
       On 08/25/17 I received multiple emails from HII stating I was refunded money in the
       amount of $130.45, $30.00, and $38.14.

       This is misleading because I was only refunded $38.14 to my checking account.




                                                                                 Exhibit D, Attachment A
                                                                                           Page 59 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 64 of 81




       Complaint

       I should not have been sold a plan by a broker that is NOT licensed in the State of
       Illinois.

       I was told false and misleading information to convince me to purchase a plan.

       I did not know I was purchasing the PEP benefit, RX helpline, or Teladoc benefit.

       I was unaware of these additional charges to my credit card:
       08/09/2017 $130.45 and 08/09/2017 $30.00

       I was lied to about an insurance card covering my prescriptions.

       I was lied to about the plan being a PPO.

       I was lied to about the medical coverage.

       I am concerned what this company will do with my personal and private information.

       I am concerned that they will not cancel this plan.

       I am now paying for my medical bills and medication all out of pocket.

       I never received a packet in the mail concerning the details of the plan as I was promised.

       I now have no coverage whatsoever and this entire experience has been extremely
       stressful and time consuming.

       Under the Affordable Care Act I am now subject to tax penalty.

       I have called HII and First Health many times regarding questions and cancellation. The
       information I receive differs person to person and I have been transferred many times to
       extensions that do not exist. I have also been told that, “managers will call me back” but I
       have not once received a phone call back.

       A quick Google search reveals there have been multiple complaints against this company.
       HII and other associated companies should not be in business and I am afraid for
       other consumers.

       Sincerely,
       N      P

       Park Ridge, IL




                                                                                     Exhibit D, Attachment A
                                                                                               Page 60 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 65 of 81




    Health Benefits One
    Response

    September 22, 2017

    State of Illinois
    Department of Insurance



                                     COMPLAINT RESPONSE


    Re: N     P
    File Number: IL17-10195



    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Illinois Department of Insurance regarding a membership with ACUSA: a Legion Limited
    Medical Indemnity plan underwritten by AXIS Insurance Company for N            P
    (who will be referred to as the member throughout this response).

    July 07, 2017, member did a needs and cost analysis to find a suitable product. During
    the pre-qualifying stage, the member was asked to state any pre-existing conditions.
    Once paired with a product, the member was then transferred to the verification
    department for a voice verification with the details of the product and/or products they
    chose to purchase. This is done for the protection of the member to ensure their
    understanding of purchase.




                                                                             Exhibit D, Attachment A
                                                                                       Page 61 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 66 of 81




    Member was advised of the overview of the Benefits, Association and First Health
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going to www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s complaint form, the member stated she was misled about the
    coverage. The member stated she was told by her agent a doctor’s visit would be
    covered at 70% then $50 off the total amount. The member was advised this policy was
    a limited medical indemnity policy, which provided a cash benefit. As part of the ACUSA
    association, the member was advised she could receive in-network re-pricing for any
    applicable procedure within the network.
    The member stated she was advised her plan included a dental and & vision plan which
    covered 50% off all services. The dental savings plan on average offers a savings from
    20%-50% off on most dental care procedures. EyeMed Vision Care Access Plan offers
    a savings of 20% to 40% off vision exams and eyewear with more than 50,000
    providers nationwide.
    Furthermore, the member went to pick up her prescription and tried using her card but
    discovered it was a discount card. During the enrollment process, she was informed she
    has a discount ScripPal prescription card,which allows her to receive an average of
    46% discounts on her RX needs. In addition, by calling our customer service
    department to go over options for her prescriptions needs through goodrx, prescription
    hope, and pharmacy checker. that allows us to send her vouchers for all her
    prescription needs.
    After further review by Health Benefits One, LLC no one named Jeff Ross works for
    and / or contracted with our organization.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Larry Thomas (license #9719306) is no longer with Health Benefits
    One, LLC. Please accept this on behalf of myself as the Chief Compliance Officer.



    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 62 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 67 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 63 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 68 of 81




    Health Benefits One
    Response

    August 8, 2017

    State of California
    Department of Insurance


                                     COMPLAINT RESPONSE


    Re: D
    File Number: RUS- 7165334


    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    California Department of Insurance regarding a membership with NCE; a Unified Health
    One Limited Medical Indemnity plan underwritten by Unified Life Insurance Company for
    D      S     (who will be referred to as the member throughout this response).



    June 23, 2015, member did a needs and cost analysis to find a suitable product. During
    the pre-qualifying stage, the member was asked to state any pre-existing conditions.
    Once paired with a product, the member was then transferred to the verification
    department for a Voice Verification with the details of the product and/or products they
    chose to purchase. This is done for the protection of the member to ensure their
    understanding of purchase.




                                                                            Exhibit D, Attachment A
                                                                                      Page 64 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 69 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Please be advised Health Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Gina Roccasalvo is no longer with Health Benefits One, LLC. Please
    accept this on behalf of myself as the Chief Compliance Officer.


    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 65 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 70 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 66 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 71 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 67 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 72 of 81




    Health Benefits One
    Response

    May 15, 2017


    State of Louisiana
    Office of the Attorney General
                                     COMPLAINT RESPONSE


    Re: R     S


    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Louisiana Office of the Attorney General regarding a membership with MSGA; a
    Principle Advantage Limited Medical Indemnity plan underwritten by Companion Life
    Insurance Company for R         S     (who will be referred to as the member throughout
    this response).



    July 29, 2016, member did a needs and cost analysis to find a suitable product. During
    the pre-qualifying stage, the member was asked to state any pre-existing conditions.
    Once paired with a product, the member was then transferred to the verification
    department for an EchoSign Packet with the details of the product and/or products they
    chose to purchase. This is done for the protection of the member to ensure their
    understanding of purchase.




                                                                            Exhibit D, Attachment A
                                                                                      Page 68 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 73 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Please be advised Health Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Paul Lindsay is no longer with Health Benefits One, LLC. Please
    accept this on my behalf as the Chief Compliance Officer.


    Sincerely,



    C.Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 69 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 74 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 70 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 75 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 71 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 76 of 81




                                                                  Exhibit D, Attachment A
                                                                            Page 72 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 77 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 73 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 78 of 81




                                                                 Exhibit D, Attachment A
                                                                           Page 74 of 77
05-30-2018
                                Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 79 of 81
                                                        Problem Report Information Inquiry                                                                                                          Page 1 of 2

       Problem Report ID: 45328                                          Problem Report Type: Complaint                                              Responsible Section: Consumer Services
            Status: Open                                    Opened Date: 05-17-2018                                 Closed Date:                                   Closure Reason:
 PROBLEM REPORT DETAILS
 TYPE OF PROBLEM              OTHER PROBLEM TYPE DESCRIPTION
 Claim Denial/Delay
 DESCRIPTION


 CONSUMER DETAIL OF COMPLAINT
 Bought a medical insurance policy that was 70/30, $2,500 deductible. Womens health covered, no prescription coverage.
 Have received no additional policy info.
 Was admitted to the hospital twice for possible heart issue. They have paid $50.
 I called to inguire why. They initially said it was only a supplemental policy.
 Second time I called they said yes it was supplemental policy but can be used for major medical.
 Asked why they hadnt picked up more than $50, they informed me they only pay for one charge a day.
 Asked why I wasnt sent a written policy, they said did you get a card, told them yes, but no policy was sent.
 Asked why nothing was paid for the hospital stay, they said they dont see a hospital stay.
 ER was 3/13, admitted on 3/14/2018.
 Asked why they didnt pay for blood work panel, they said they would only pay for one test.
 Asked o speak to a supervisor, said non was available.
 Asked to speak to a Hippa compliance officer, said they dont have one.
 Hung up on me
 Called back.
 Asked to cancel my policy. Transferred me.
 Asked to cancel the policy, transferred me again.
 Asked to cancel my policy, said Id have to talk to a Simple Health, transferred me again.
 Asked to cancel my policy, asked why, told them why, asked if my policy was canceled now, they said no, Id have to talk to a supervisor. Left on indefinite hold.
 Called my credit card company to cancel the charge. Was informed that I cant cancel the charge only the insurance company can do that per the way it was set up.
 CONSUMER DESIRED RESOLUTION
 Hang them by their toes!!!
 This policy was purchased in good faith.
 I went through all questions that I thought were reasonable and gave me the information needed.
 Ive had two hospital stays, one for $26,920 (just the hospital, not including the doctors charges) and the other for $27,000+ (not all bills have come in yet). I would like them to pick up their 70% for the policy I
 purchased in good faith.
 CONSUMER IS COMPLAINING AGAINST                                                                             CONSUMER IS REPRESENTED BY AN ATTORNEY?                HOW DID THE CONSUMER KNOW ABOUT US?
 My Insurance Company                                                                                        No                                                     Consumer Portal
 HAS THE CONSUMER PREVIOUSLY REPORTED THIS PROBLEM TO OUR OFFICE OR ANY OTHER AGENCY?                                              PURCHASED INSURANCE ON THE HEALTH CARE EXCHANGE?
 Yes                                                                                                                               No




                                                                                                                                                                                   Exhibit D, Attachment A
                                                                                                                                                                                             Page 75 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 80 of 81




    Health Benefits One
    Response

    June 07, 2018

    State of Nevada
    Division of Insurance


                                      COMPLAINT RESPONSE


    Re: K      W
    File Number # 18-TA 45328


    To Whom It May Concern:
    Please allow this letter to serve as a formal response to an inquiry from the State of
    Nevada Division of Insurance regarding a membership with National Congress of
    Employers Association; Unified National Health One Limited Benefit Medical Plan,
    underwritten by Unified Life Insurance Company for K        W      (who will be referred to
    as the member throughout this response).


    October 13, 2017, member did a needs and cost analysis to find a suitable product.
    During the pre-qualifying stage, the member was asked to state any pre-existing
    conditions. Once paired with a product, the member was then transferred to the
    verification department for a voice verification with the details of the product and/or
    products they chose to purchase. This is done for the protection of the member to
    ensure their understanding of purchase.




                                                                               Exhibit D, Attachment A
                                                                                         Page 76 of 77
Case 0:18-cv-62593-DPG Document 96-4 Entered on FLSD Docket 03/18/2019 Page 81 of 81




    Member was advised of the overview of the Benefits, Association and Multiplan
    Network, Limitations & Exclusions and Security & Privacy which are available
    immediately for their viewing by going www.hiiquote.com. HBO further advised the
    member to review the policy and certificate for a list of any exclusions, limitations and
    acknowledgements specific to their state.
    Per the member’s compliant form, the member states she was told the plan would cover
    her at 70%. Please be advised the member was informed the membership would offer
    in-network repricing of up to 70% qualifying procedures. Members are advised
    percentages are based upon region and CPT codes, which we cannot provide.
    Please be advised Heath Benefits One, LLC does not handle claims.
    Should you have any additional questions regarding this, please feel free to contact our
    Compliance Department at 1-800-492-1834.
    Please be advised Catherine Higgs-Palmer is no longer with Health Benefits One, LLC.
    Please accept this on behalf of myself as the Chief Compliance Officer.



    Sincerely,



    C. Girouard




                                                                               Exhibit D, Attachment A
                                                                                         Page 77 of 77
